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                          Exhibit




                                Exhibit M
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     UNITED STATES OF AMERICA, et al.
12
13                             UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                    WESTERN DIVISION
16   PAUL SNITKO, JENNIFER SNITKO,                 No. 2:21-CV-04405-RGK-MAR
     JOSEPH RUIZ, TYLER GOTHIER,
17   JENI VERDON-PEARSONS,                         DEFENDANTS UNITED STATES OF
     MICHAEL STORC, AND TRAVIS                                     RESPONSE TO
18   MAY,                                                          REQUEST FOR
                                                   DOCUMENT PRODUCTION
19               Plaintiffs,                       RELATED TO CLASS
                                                   CERTIFICATION
20                      v.
21   UNITED STATES OF AMERICA, ET
     AL.,
22
23               Defendants.
24
25         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendants
26   United States of America, Tracy L. Wilkison, in her official capacity as Acting United
27   States Attorney for the Central District of California, and Kristi Koons Johnson, in her
28   official capacity as an Assistant Director of the Federal Bureau of Investigation
                                         Exhibit M
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 1   (collectively. Defendants , by their attorneys, submit their responses
 2   First Request for Document Production Related to Class Certification propounded on
 3   Defendants.
 4   REQUEST FOR PRODUCTION NO. 1:
 5         All forfeiture notices sent with respect to property seized from U.S. Private Vaults
 6
 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
 8         Defendants object to this Request on the ground that proceeding with civil
 9   discovery in this case will adversely affect the ability of the government to conduct a
10   related criminal investigation or the prosecution of a related criminal case. Defendants
11   further object to the extent this Request (1) seeks information protected by the
12   attorney-client privilege or work product doctrine; and (2) seeks information protected
13   by the law enforcement evidentiary privilege or the investigatory file privilege.
14   Defendants also object to the Request as vague with
15          Defendants object to this Request as overbroad and unduly burdensome and not
16   narrowly tailored to class certification. Defendants also object to this Request as seeking
17   personally identifiable information without a protective order.
18         Subject to the foregoing objections, the government responds as follows:
19         The government will produce the forfeiture notice sent to USPV and the forfeiture
20   notices sent to the named plaintiffs.
21   REQUEST FOR PRODUCTION NO. 2:
22         All claims that have been submitted to the FBI through the claim form posted on
23                        https://forms.fbi.gov/u-s-private-vaults-claim-form and
24   https://forms.fbi.gov/uspvclaims.
25   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
26         Defendants object to this Request on the ground that proceeding with civil
27   discovery in this case will adversely affect the ability of the government to conduct a
28   related criminal investigation or the prosecution of a related criminal case. Defendants
                                             Exhibit2M
                                               105
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 1   further object to the extent this Request (1) seeks information protected by the
 2   attorney-client privilege or work product doctrine; and (2) seeks information protected
 3   by the law enforcement evidentiary privilege or the investigatory file privilege.
 4   Defendants also object to this Request as overbroad and unduly burdensome and not
 5   narrowly tailored to class certification. Defendants also object to this Request as seeking
 6   personally identifiable information without a protective order.
 7          Subject to the foregoing objections, the government responds as follows:
 8          Defendants will not produce documents in response to this Request.
 9   REQUEST FOR PRODUCTION NO. 3:
10          All forfeiture claims for property seized from U.S. Private Vaults safe deposit
11   boxes that have been submitted to the FBI either through the www.forfeiture.gov website
12   or by mailing a claim to the address identified on the forfeiture notice letters.
13   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
14          Defendants object to this Request on the ground that proceeding with civil
15   discovery in this case will adversely affect the ability of the government to conduct a
16   related criminal investigation or the prosecution of a related criminal case. Defendants
17   further object to the extent this Request (1) seeks information protected by the
18   attorney-client privilege or work product doctrine; and (2) seeks information protected
19   by the law enforcement evidentiary privilege or the investigatory file privilege.
20   Defendants also object to this Request as overbroad and unduly burdensome and not
21   narrowly tailored to class certification. Defendants also object to this Request as seeking
22   personally identifiable information without a protective order.
23          Subject to the foregoing objections, the government responds as follows:
24          Defendants will produce the forfeiture claims submitted to the FBI by the named
25   plaintiffs.
26   REQUEST FOR PRODUCTION NO. 4:
27          All petitions for remission or mitigation relating to property seized from U.S.
28   Private Vaults safe deposit boxes that have been submitted to the FBI either through the
                                          Exhibit3M
                                            106
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                                      #:1014



 1   www.forfeiture.gov website or by mailing a petition to the address identified on the
 2   forfeiture notice letters.
 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
 4          Defendants object to this Request on the ground that proceeding with civil
 5   discovery in this case will adversely affect the ability of the government to conduct a
 6   related criminal investigation or the prosecution of a related criminal case. Defendants
 7   further object to the extent this Request (1) seeks information protected by the
 8   attorney-client privilege or work product doctrine; and (2) seeks information protected
 9   by the law enforcement evidentiary privilege or the investigatory file privilege.
10   Defendants also object to this Request as overbroad and unduly burdensome and not
11   narrowly tailored to class certification. Defendants also object to this Request as seeking
12   personally identifiable information without a protective order.
13          Subject to the foregoing objections, the government responds as follows:
14          Defendants will produce any petitions for remission or mitigation submitted to the
15   FBI by the named plaintiffs.
16   REQUEST FOR PRODUCTION NO. 5:
17          All documents provided to law enforcement officers in order to communicate the
18   procedures to be followed when conducting the March 2021 search of the contents of the
19   U.S. Private Vaults safe deposit boxes.
20   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
21          Defendants object to this Request on the ground that proceeding with civil
22   discovery in this case will adversely affect the ability of the government to conduct a
23   related criminal investigation or the prosecution of a related criminal case. Defendants
24   further object to the extent this Request (1) seeks information protected by the
25   attorney-client privilege or work product doctrine; and (2) seeks information protected
26   by the law enforcement evidentiary privilege or the investigatory file privilege.
27   Defendants also object to this Request as overbroad and unduly burdensome and not
28   narrowly tailored to class certification.
                                          Exhibit4M
                                            107
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 1         Subject to the foregoing objections, the government responds as follows:
 2         Defendants will not produce documents in response to this Request.
 3   Dated: August 20, 2021                      Respectfully submitted,
 4                                               TRACY L. WILKISON
                                                 Acting United States Attorney
 5                                               SCOTT M. GARRINGER
                                                 Assistant United States Attorney
 6                                               Chief, Criminal Division
 7                                                     /s/             ______________
                                                 ANDREW BROWN
 8                                               VICTOR A. RODGERS
                                                 MAXWELL COLL
 9                                               Assistant United States Attorneys
10                                               Attorneys for Defendants
                                                 UNITED STATES OF AMERICA, et al.
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                                       Exhibit5M
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